         CASE 0:22-cv-02524-MJD-JFD Doc. 1 Filed 10/11/22 Page 1 of 10




                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF MINNESOTA


  Michael R. Torrey-White,                                Court File No.

                   Plaintiff,

  vs.                                                             COMPLAINT WITH
                                                                   JURY DEMAND
  Ramsey County; Ramsey County Sheriff’s
  Deputies Kyle Williams, Dallas Edeburn,
  Sara Naglosky, and Amanda Skelly, in their
  official and individual capacities,

                   Defendants.



                                       INTRODUCTION

1. This is an action for money damages brought pursuant to 42 U.S.C. §§ 1983 and 1988, and the

   Fourth Amendment to the United States Constitution, and under the common law of the State

   of Minnesota, against Ramsey County and Ramsey County Sheriff’s Deputies Kyle Williams,

   Dallas Edeburn, Sara Naglosky and Amanda Skelly in their individual and official capacities.

2. It is alleged that the Defendant Officers made an unreasonable search and seizure of Plaintiff’s

   person, engaged in excessive force and failed to protect Plaintiff, violating his rights under the

   Fourth and/or Fourteenth Amendment to the United States Constitution, and that these

   violations were committed as a result of policies and customs of Ramsey County. It is further

   alleged that Defendants assaulted and battered Plaintiff and engaged in malicious prosecution

   under Minnesota state law.


                                        JURISDICTION

3. Jurisdiction is based upon 28 U.S.C. §§ 1331 and 1343, and on the pendent jurisdiction of this

   Court to entertain claims arising under state law pursuant to 28 U.S.C. § 1367.

                                                 1
         CASE 0:22-cv-02524-MJD-JFD Doc. 1 Filed 10/11/22 Page 2 of 10




                                            VENUE

4. This Court is the proper venue for this proceeding under 28 U.S.C. § 1391, as the material

   events and occurrences giving rise to Plaintiff’s cause of action occurred within the State of

   Minnesota.

                                           PARTIES

5. Plaintiff Michael R. Torrey-White (“Mr. Torrey-White”) was at all material times a resident

   of the State of Minnesota and of full age.

6. Defendant Ramsey County is a municipal corporation and the public employer of Sheriff’s

   Deputy Kyle Williams.

7. Defendants Kyle Williams (“Williams”), Dallas Edeburn (“Edeburn”), Sara Naglosky

   (”Naglosky”), and Amanda Skelly (“Skelly”), collectively known as “Individual Defendants”

   were at all times relevant to this complaint duly appointed and acting as Deputies of the

   Ramsey County Sheriff’s Office, acting under color of law, to wit, under color of the statutes,

   ordinances, regulations, policies, customs and usages of the State of Minnesota and/or Ramsey

   County and/or the City of Falcon Heights.


                                             FACTS

8. On February 28, 2020, Ramsey County Dispatch received multiple calls about an altercation

   in a parking lot behind a Pizza Hut between a man who was attempting to break the windows

   of a vehicle and the driver who was attempting to hit the man with her vehicle. The man was

   described by Dispatch as African American, in his late 30s, wearing a black hoodie, black

   pants, and a hat with the letters LSW on it.

9. Mr. Torrey-White was 67-years-old on the day of this incident. He has significant hearing loss

   and uses hearing aids. He also has mobility issues and uses a walker.


                                                  2
         CASE 0:22-cv-02524-MJD-JFD Doc. 1 Filed 10/11/22 Page 3 of 10




10. Mr. Torrey-White lives in an apartment complex near the parking lot where the incident

   occurred. His daughter, Madeline Torrey-White, lives in the same complex. Both apartments

   have windows that face the parking lot where the incident occurred.

11. Ms. Torrey-White saw a man dodging a vehicle in the parking lot and called Ramsey County

   dispatch. She then observed tire tracks from the vehicle very near her parked truck.

12. Ms. Torrey-White asked her father to check on her parked truck.

13. Mr. Torrey-White left his apartment without inserting his hearing aids and walked toward his

   daughter’s parked car, using his walker to ambulate.

14. Mr. Torrey-White was wearing a white shirt and brown windbreaker jacket. His jacket was

   open such that his white shirt was quite visible. He was not wearing a hat.

15. Defendant Williams arrived on the scene in his squad vehicle. He saw Mr. Torrey-White, a

   Black man, standing near a truck and decided he met the description of the suspect he was

   looking for, despite the significant and obvious differences in age and dress as described by

   the 911 Dispatcher. Further, none of the callers described the man in the altercation as using

   a walker.

16. After inspecting the tire tracks and his daughter’s truck, Mr. Torrey-White began to walk back

   to his apartment. He suddenly felt a hand on his right arm from behind, which startled him.

17. Defendant Williams pushed Mr. Torrey-White into a brick wall, hitting his head and back

   against the wall. Mr. Torrey-White lost consciousness.

18. Mr. Torrey-White awoke to find himself on the ground in handcuffs. He asked what he had

   done wrong and Defendant Williams told him to “Shut up.” He began to scream for his

   daughter, who came outside and took a picture of her father on the ground.




                                                3
          CASE 0:22-cv-02524-MJD-JFD Doc. 1 Filed 10/11/22 Page 4 of 10




19. Mr. Torrey-White attempted to explain to Defendant Williams that the man he was looking for

   was coming around the corner from the restaurant in the complex. Defendant Williams ignored

   him.

20. Defendant Williams began to put pressure on Mr. Torrey-White’s back. Mr. Torrey-White

   complained that he was having difficulty breathing.

21. By then, Defendants Edeburn, Naglosky, and Skelly had arrived on the scene and informed

   Mr. Torrey-White that he was being detained. At no point did any of these defendants attempt

   to stop Defendant Williams from engaging in excessive force.

22. Defendant Williams rolled Mr. Torrey-White onto his back. Despite a lack of probable cause

   to believe Mr. Torrey-White had a weapon, a female Deputy among the Defendants on the

   scene touched the front of Mr. Torrey-White’s pants, in the area of his genitalia, and asked

   “What’s this?” Mr. Torrey-White verbally objected to the offensive touch. This offensive

   touch was witnessed by his daughter, Ms. Torrey-White.

23. Despite a lack of probable cause to believe Mr. Torrey-White had a weapon, Defendant

   Williams searched Mr. Torrey-White’s pockets and the pouch of his walker, scattering his

   belongings on the ground. His daughter, Ms. Torrey-White, picked them up.

24. One of the Defendant Deputies eventually removed the handcuffs from Mr. Torrey-White and

   let him go.

25. Mr. Torrey-White told the deputies that he was planning to file a complaint, which he did the

   next day.

26. Defendant Williams later falsified his police report and caused Mr. Williams to be falsely

   charged. Approximately nine days after Mr. Torrey-White filed his complaint, he was charged




                                               4
         CASE 0:22-cv-02524-MJD-JFD Doc. 1 Filed 10/11/22 Page 5 of 10




   with Obstructing Legal Process under Minn. Stat. 609.50.1(2) and Disorderly Conduct under

   under Minn. Stat. §609.72.1(3).

27. Mr. Torrey-White secured an attorney and attended five hearings related to the charges. His

   attorney requested discovery in the case, including body-worn camera footage. The judge

   ordered the Ramsey County Sheriff’s Office to produce the body-worn camera footage.

   Despite this order, the footage was never produced.

28. During Mr. Torrey-White’s trial on July 12, 2022, the Ramsey County Sheriff’s Office failed

   to appear and failed to produce the body-worn camera footage as ordered. At that point, Mr.

   Torrey-White’s charges were dismissed.

29. After the incident, Mr. Torrey-White went to Regions Hospital for care for head and back

   injuries caused by Defendant Williams’ actions. Mr. Torrey-White’s prior neck injury from

   an auto accident was exacerbated by Defendant Williams’ actions.

30. Mr. Torrey-White also received services from a therapist and medication from a psychiatrist

   for post-traumatic stress disorder and depression as a result of the abuse he experienced at the

   hands of Defendant Williams.

31. As a result of Defendant Williams’ actions, Mr. Torrey-White endured physical pain,

   suffering, and discomfort during the beating and detention.

32. As a result of the Defendant Williams’ actions, Mr. Torrey-White suffered pain and injuries

   to his head and neck, including exacerbation of an existing neck injury.

33. As a result of the Defendant Williams’ actions, Mr. Torrey-White suffered

   emotional/psychological trauma, anguish, and distress, including depressed mood, anxiety,

   fear, insecurity, difficulty sleeping, and diminished quality and enjoyment of life.




                                                5
         CASE 0:22-cv-02524-MJD-JFD Doc. 1 Filed 10/11/22 Page 6 of 10




34. As a result of the Defendant Williams’ actions, Mr. Torrey-White suffered shame,

   humiliation, and embarrassment.

35. As a result of the Defendant Officers’ actions, Mr. Torrey-White required medical and

   psychological treatment and has incurred medical expenses.

36. As a result of the Defendants’ actions, Mr. Torrey-White was forced to make numerous court

   appearances and defend himself against the false criminal charges fabricated by Defendant

   Williams, which were later dismissed Ramsey County Court.


                                      CLAIMS FOR RELIEF

COUNT 1: 42 U.S.C. § 1983 – FOURTH AND/OR FOURTEENTH AMENDMENT UNREASONABLE
 SEARCH, SEIZURE, AND FAILURE TO PROTECT AGAINST ALL INDIVIDUAL DEFENDANTS

37. Paragraphs 1 through 36 are incorporated herein by reference as though fully set forth.

38. Based on the above factual allegations, Defendant Williams, through his actions, acting

   under the color of state law, violated Plaintiff’s constitutional right to remain free from

   unreasonable search, seizure and use of excessive force under the Fourth and/or Fourteenth

   Amendment to the United States Constitution when he attacked, tackled, and assaulted

   Plaintiff, all without justification.

39. Based on the above factual allegations, an as yet unidentified female Deputy, through her

   actions, acting under the color of state law, violated Plaintiff’s constitutional right to remain

   free from unreasonable search, seizure and use of excessive force under the Fourth and/or

   Fourteenth Amendment to the United States Constitution when she touched Plaintiff’s

   genitalia through his pants, without justification.

40. Based on the above factual allegations, Defendants Edeburn, Naglosky, and Skelly, through

   their actions, acting under the color of state law, violated Plaintiff’s constitutional right to



                                                  6
         CASE 0:22-cv-02524-MJD-JFD Doc. 1 Filed 10/11/22 Page 7 of 10




   remain free from unreasonable seizures and excessive use of force under the Fourth and/or

   Fourteenth Amendment to the United States Constitution by failing to protect Plaintiff from

   Defendant Officer Williams’ excessive use of force. Defendants Edeburn, Naglosky, and

   Skelly observed the Defendant Officer Williams assaulting and using excessive force on

   Plaintiff and had the means and opportunity to prevent it, but nonetheless failed to protect

   Plaintiff from Defendant Officer Hanson’s excessive use of force.

41. As a result of these constitutional violations, Plaintiff suffered damages as aforesaid.


 COUNT 2: 42 U.S.C. § 1983 –FOURTH AND/OR FOURTEENTH AMENDMENT UNREASONABLE
            SEARCH, SEIZURE, EXCESSIVE FORCE AND FAILURE TO PROTECT
                              AGAINST RAMSEY COUNTY

42. Paragraphs 1 through 36 are incorporated herein by reference as though fully set forth.

43. Prior to February 28, 2020, Defendant Ramsey County developed and maintained policies

   and/or customs exhibiting deliberate indifference towards the constitutional rights of persons

   in Ramsey County or in the custody of the Ramsey County, which caused the violations of

   Plaintiff’s constitutional rights.

44. It was the policy and/or custom of Defendant Ramsey County to inadequately supervise and

   train its employees, including Defendants Williams, Edeburn, Naglosky, and Skelly thereby

   failing to adequately prevent and discourage further constitutional violations on the part of

   its employees.

45. As a result of these policies and/or customs and lack of training, employees of the Defendant

   Ramsey County, including Defendants Williams, Edeburn, Naglosky, and Skelly believed

   that their actions would not be properly monitored by supervisory employees and that

   misconduct would not be investigated or sanctioned, but would be tolerated.

46. These policies and/or customs and lack of training were the cause of the violations of

                                                  7
         CASE 0:22-cv-02524-MJD-JFD Doc. 1 Filed 10/11/22 Page 8 of 10




   Plaintiff’s constitutional rights alleged herein.


       COUNT 3: ASSAULT AGAINST ALL DEFENDANTS UNDER MINNESOTA STATE LAW

47. Paragraphs 1 through 36 are incorporated herein by reference as though fully set forth.

48. Based on the above factual allegations, individual Defendants assaulted Plaintiff.

   Specifically, Defendant Williams and an as yet unidentified female Deputy engaged in

   wrongful, malicious, unlawful, and intentional conduct intended to put Plaintiff in

   immediate, imminent, and direct fear and apprehension of an offensive touching when they

   attacked, tackled, and assaulted Plaintiff, all without justification.

49. As a direct and proximate result of this assault, Plaintiff suffered damages as aforesaid.


       COUNT 4: BATTERY AGAINST ALL DEFENDANTS UNDER MINNESOTA STATE LAW

50. Paragraphs 1 through 36 are incorporated herein by reference as though fully set forth.

51. Based on the above factual allegations, Individual Defendants battered Plaintiff.

   Specifically, Defendant Williams engaged in intentional, offensive, and unpermitted contact

   with Plaintiff when he attacked, tackled, and assaulted Plaintiff, and an as yet unidentified

   female Deputy touched Mr. Torrey-White’s genitalia through his pants, all without

   justification.

52. As a direct and proximate result of this battery, Plaintiff suffered damages as aforesaid.


           COUNT 5: MALICIOUS PROSECUTION AGAINST ALL DEFENDANTS UNDER
                               MINNESOTA STATE LAW

53. Paragraphs 1 through 36 are incorporated herein by reference as though fully set forth.

54. Based on the above factual allegations, the Defendant Officers committed malicious

   prosecution when they intentionally and with malice caused Plaintiff to be prosecuted for

   obstruction of the legal process without probable cause and without reasonable belief that the

                                                  8
         CASE 0:22-cv-02524-MJD-JFD Doc. 1 Filed 10/11/22 Page 9 of 10




   prosecution will succeed. The prosecution terminated in Plaintiff’s favor when all criminal

   charges against Plaintiff were dismissed.

55. Defendant Ramsey County is vicariously liable to Plaintiff for the Defendant Officers’

   malicious prosecution.

56. As a direct and proximate result of this malicious prosecution, Plaintiff suffered damages as

   aforesaid.


                                     RELIEF REQUESTED

WHEREFORE, Plaintiff requests that this Court grant the following relief:

a. Issue an order granting Plaintiff judgment against Defendants, finding that the Defendants

   violated Plaintiff’s constitutional rights under the Fourth Amendment to the United States

   Constitution and that Defendants are liable to Plaintiff for all damages resulting from these

   violations;

b. Issue an order granting Plaintiff judgment against Defendants, finding that Defendants

   committed the torts of assault and battery under Minnesota state law and that Defendants are

   liable to Plaintiff for all damages resulting from these torts;

c. Award of compensatory damages to Plaintiff against all Defendants, jointly and severally;

d. Award of punitive damages to Plaintiff against all Defendants, jointly and severally;

e. Award of reasonable attorney’s fees and costs to Plaintiff pursuant to 42 U.S.C. § 1988;

f. Award of such other and further relief as this Court may deem appropriate.


                       THE PLAINTIFF HEREBY DEMANDS A JURY TRIAL.




                                                  9
       CASE 0:22-cv-02524-MJD-JFD Doc. 1 Filed 10/11/22 Page 10 of 10




October 10, 2022                 By: s/ Paul J. Bosman
                                     Paul J. Bosman
                                     Attorney License No. 0388865
                                     Attorney for Plaintiff
                                     2136 Ford Parkway, #5328
                                     Saint Paul, MN 55116
                                     Tel: (651) 485-7046
                                     Email: paul.bosman@gmail.com




                                     10
